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GIBBONS P.C.
One Gateway Center
Newark, New Jersey 07102-5310
Philip J. Duffy, Esq.
Telephone: (973) 596-4821
Facsimile: (973) 639-6219
E-mail: Pduffy@gibbonslaw.com
David N. Crapo, Esq.
Telephone: (973) 596-4523
Facsimile: (973) 639-6244
E-mail: Dcrapo@gibbonslaw.com

Special Counsel for the Plaintiffs,
The Great Atlantic & Pacific Tea Company, Inc., et al.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:                                                                           Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                                                 Case No. 15-23007 (RDD)
COMPANY, Inc., et al.,1
                                                                                 (Jointly Administered)
                                 Debtors.




THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC. et al.
                                                                                   Adv. Proc. No. 18-08245 (RDD)
                                 Plaintiffs,

           v.
                                                                                          NOTICE OF APPEARANCE
PEPSICO, INC; BOTTLING GROUP, LLC (d/b/a
PEPSI BEVERAGES COMPANY and f/d/b/a
THE PEPSI BOTTLING GROUP); FRITO-LAY
NORTH AMERICA, INC.; PEPSI-COLA

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: 2008
Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P Live Better, LLC (0799); A&P Real Property, LLC
(0973); APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090);
Food Basics, Inc. (1210); Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para Holdings,
Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell, Inc.(3304); Super Fresh Food Markets, Inc.
(2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599). The international
subsidiaries of The Great Atlantic & Pacific Tea Company, Inc. are not debtors in these chapter 11 cases. The location of the Debtors’ corporate
headquarters is 19 Spear Road, Suite 310, Ramsey, New Jersey 07446.




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METROPOLITAN BOTTLING COMPANY,
INC.; PEPSI-COLA HASBROUCK HEIGHTS;
PEPSI-COLA BOTTLING COMPANY;
QUAKER SALES AND DISTRIBUTION, INC.;
MULLER QUAKER DAIRY, LLC; STACY’S
PITA CHIP COMPANY, INC.; PEPSI
BOTTLING GROUP, NJ; and PEPSI USA,

                     Defendants.


               NOTICE OF APPEARANCE AND DEMAND FOR SERVICE

       PLEASE TAKE NOTICE that an appearance is hereby entered and request is hereby

made by Special Counsel for the Plaintiffs, The Great Atlantic & Pacific Tea Company, Inc., et

al. (“Plaintiffs”), as plaintiffs in the above-captioned case, in accordance with 11 U.S.C. §

1109(b) of Title 11, United States Code, 11 U.S.C. §§ 101-1532, and Fed. R. Bankr. P. Rules

2002 and 9007 (the “Bankruptcy Rules”), that all papers, pleadings, motions and applications

served or required to be served in this adversary proceeding, be given to and served upon the

following:


                                      GIBBONS P.C.
                                    One Gateway Center
                              Newark, New Jersey 07102-5310
                                 Attn: Philip J. Duffy, Esq.
                                 Telephone: (973) 596-4821
                                 Facsimile: (973) 639-6219
                              E-mail: pduffy@gibbonslaw.com


       PLEASE TAKE FURTHER NOTICE that, the foregoing request includes not only the

notices and the papers referred to in the Bankruptcy Rules specified above, but also includes,

without limitation, orders and notices of any application, motion, petition, pleading, request,

complaint or demand and any answering or reply papers filed in the above-captioned adversary

proceeding.

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       PLEASE TAKE FURTHER NOTICE that neither this notice nor any subsequent

appearance, pleading, claim, or suit is intended or shall be deemed to waive any of the Plaintiffs’

rights: (i) to have final orders in non-core matters, as well as statutory core matters in which the

court lacks the Constitutional authority to enter a final order absent the consent of the parties,

entered only after de novo review by a district court judge; (ii) to trial by jury in any proceedings

so triable herein or in any case, controversy or proceeding related hereto; and (iii) to have the

reference withdrawn by the United States District Court in any matter subject to mandatory or

discretionary withdrawal; or any other rights, claims, actions, defenses, setoffs or recoupments to

which Plaintiffs are and/or may be entitled under agreements, at law or in equity, all of which

rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

               PLEASE TAKE FURTHER NOTICE that this appearance and request for notice

is made without prejudice to Plaintiffs’ rights, remedies and claims against other entities. All

rights, remedies and claims are hereby expressly reserved.



Dated: April 24, 2018                 GIBBONS P.C.

                                      By:/s/ David N. Crapo
                                           David N. Crapo, Esq.

                                      Special Counsel for the Plaintiffs,
                                      The Great Atlantic & Pacific Tea Company, Inc., et al.




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                                CERTIFICATE OF SERVICE

        I certify that on April 24, 2018, I electronically filed the foregoing document with the
Clerk of the Court by means of the CM/ECF electronic filing system. CM/ECF will serve the
foregoing document upon all parties registered with the Court’s electronic noticing system as of
that date.


                                             By: /s/ David N. Crapo
                                                     David N. Crapo, Esq.




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